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15                                UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17

18
       ROSE DIAZ; and DIMAS DIAZ,                      CASE NO.: 2:19-cv-04695-DMG-AGR
19     individually; EDITH DIAZ, JESSE                PETITION TO APPROVE
       DIAZ; DAVID CHASE DIAZ and                     COMPROMISE OF MINOR
20
       D.A.D., a minor by and through her             PLAINTIFF D.A.D’s CLAIMS;
                                                      [PROPOSED] ORDER GRANTING
21     guardian ad litem ALEXIS MARIE                 PETITION
22
       OLIVAREZ, individually and as co-
       successors-in-interest to Decedent              Date:     April 17, 2020
23
                                                       Time:     9:30 a.m.
       DIMAS DIAZ JR.,                                 Location: United States Courthouse,
24
                                                                 350 West 1st Street, Los
                                                                 Angeles, CA, 90012,
25                                 Plaintiffs,                   Courtroom 8C, 8th Floor
26           vs.                                      Hon. Dolly M. Gee

27
       COUNTY OF VENTURA, a municipal
28
       corporation; NOEL JUAREZ,


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1
       individually and in his official capacity as
       a sheriff’s deputy for the Ventura County
2      Sheriff’s Department and DOES 1-50,
3      inclusive, individually and in their official
       capacities as agents for the Ventura
4
       County Sheriff’s Department; and
5      BRIAN GREEN, individually and in his
6
       official capacity as a California Highway
       Patrol Officer for the California Highway
7      Patrol and DOES 51-65, inclusive,
8      individually and in their official capacities
       as California Highway Patrol Officers,
9

10                                  Defendants.
11
             TO THIS HONORABLE COURT, AND TO ALL PARTIES AND TO
12
       THEIR ATTORNEYS OF RECORD HEREIN:
13
             TAKE NOTICE that on April 17, 2020, at 9:30 a.m. or as soon thereafter as this
14
       matter may be heard in Courtroom 8C of the United States District Court for the
15
       Central District of California, located at 350 West First Street, Los Angeles,
16
       California, Petitioner ALEXIS MARIE OLIVAREZ , as the duly appointed Guardian
17
       ad Litem for Minor Plaintiff D.A.D. in the above entitled action, will, and hereby does,
18
       petition this Court for an order approving the compromise and settlement of the
19
       disputed claims of Minor Plaintiff D.A.D. against the County of Ventura and Ventura
20
       County Sheriff Deputy Noel Juarez (“County Defendants”).
21
             The parties to the settlement are Plaintiffs and the County Defendants only.
22
       These parties have reached a settlement in the amount of $800,000 in exchange for a
23
       dismissal with prejudice of all claims against the County Defendants arising from the
24
       subject January 12, 2019 incident. The pleadings affected by the settlement are
25
       Plaintiffs’ Second Amended Complaint for Damages, filed August 12, 2019.
26
             Settlement was reached after two sessions of mediation. On January 14, 2020,
27
       Magistrate Judge La Mothe conducted a first settlement conference with Plaintiffs and
28




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1      the County Defendants. Thereafter, a second settlement conference was held on
2      February 6, 2020. Magistrate Judge La Mothe proposed a mediator’s compromise of
3      $800,000 for the settlement of all claims against the County Defendants, which was
4      ultimately accepted by both parties.
5             This Petition is brought following the settlement outlined above by Minor
6      Plaintiff D.A.D. by and through her Guardian ad Litem, Petitioner ALEXIS MARIE
7      OLIVAREZ. There is no opposition to this Petition by the other Plaintiffs or by the
8      County of Ventura Defendants.
9

10                                            PETITION
11

12            Petitioner Alexis Marie Olivarez respectfully represents:
13            1.    Petitioner ALEXIS MARIE OLIVAREZ is the natural sibling of minor
14     plaintiff D.A.D.
15            2.    OLIVAREZ was appointed as Guardian ad Litem to minor Plaintiff
16     D.A.D. by this Court on November 8, 2019 (Dkt. No. 47).
17            3.    Minor D.A.D. was born on February 10, 2006 and is presently 14 years
18     old.
19            4.    Minor D.A.D. has a cause of action for the alleged wrongful death of her
20     father, Decedent Dimas, Jr., in addition to causes of action for negligence, violations of
21     the Fourth and Fourteenth Amendments of the U.S. Constitution, and California Civil
22     Code § 52.1, against the named defendants herein on which a lawsuit was brought in
23     this court. Co-Plaintiffs EDITH DIAZ, DAVID CHASE DIAZ, and JESSE DIAZ also
24     share in Minor D.A.D.’s wrongful death, negligence, violations Fourth and Fourteenth
25     Amendments of the U.S. Constitution, and California Civil Code § 52.1 causes of
26     action. All Plaintiffs share in the Fourteenth Amendment cause of action for the loss of
27     familial relationship.
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1            5.        Plaintiffs’ causes of action arise out of the incident that occurred on
2      January 12, 2019 in which Decedent Dimas Diaz, Jr. died after being shot by
3      Defendants CHP Officer BRIAN GREEN and Ventura County Deputy Sheriff NOEL
4      JUAREZ.
5            6.        Plaintiffs and the County Defendants have reached settlement in this
6      matter as to all claims against the County Defendants with the approval of the County
7      of Ventura Board of Supervisors. The total settlement of the case is in the amount of
8      $800,000.00, including all costs and attorneys’ fees. The parties have agreed on
9      apportionment of the settlement. Of the total gross settlement amount, Minor Plaintiff
10     D.A.D.’s gross settlement shall be $160,000.00 (20% of the total settlement).
11                a. Attorney fees for Minor Plaintiff D.A.D. shall be at 25% each of her total
12           gross recovery, in the amount of $40,000.00, pursuant to the contingency fee
13           agreement in this case.
14                b. Proportionate with Minor Plaintiff D.A.D.’s share of the $800,000.00
15           recovery, Minor Plaintiff shall bear 20% of the total $2,191.89 in litigation
16           costs incurred by her counsel in this action: $438.38.
17                c. Minor Plaintiff D.A.D.’s net settlement is in the amount of $119,561.62.
18                d. Defendant(s) shall arrange for the purchase of a tax-free structured
19           settlement annuity policy from MUTUAL OF OMAHA STRUCTURED
20           SETTLEMENT CO., through Horacio Lleverino, of Settlement Planners, Inc. in
21           the sum of $119,561.62.
22                e.    Defendant County of Ventura shall execute a Settlement Agreement
23           and Release and execute a “Qualified Assignment” of its obligation to make
24           periodic payments pursuant thereto in compliance with IRC Section 104(a)(2)
25           and Section 130(c) of the Internal Revenue Code of 1986, as amended. Said
26           assignment shall be made to Mutual of Omaha Structured Settlement
27           Company, Inc. (“Assignee”). Assignee shall purchase a structured settlement
28           annuity for $119,561.62 through United of Omaha Life Insurance Company



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1             which is rated A+ (Superior) Financial Size XV through A.M. Best. Said
2             annuity shall provide the following guaranteed Periodic Payments:
3                         i. $10,000.00 payable annually, guaranteed for 4 years, beginning on
4                           7/01/2024, with the last guaranteed payment on 7/01/2027.
5                        ii. $500.00 payable monthly, guaranteed for 12 years, beginning on
6                           7/01/2024, with the last guaranteed payment on 6/01/2036.
7                        iii. Lump sum payment of $10,000.00 payable on 02/10/2031 (Age
8                           25).
9                        iv. Lump sum payment of $24,018.58 payable on 02/10/2036 (Age
10                          30).
11            7.     This petition was prepared by the Law Offices of John L. Burris, the lead
12     counsel representing plaintiffs in this action. DeWitt M. Lacy, Esq. of Law Offices of
13     John L. Burris also represents plaintiffs and is in agreement with the terms of this
14     Petition. John L. Burris, Esq. and DeWitt M. Lacy, Esq. hereby represent to the Court
15     that they became involved in this case at the request of plaintiffs, and have not
16     received, and do not expect to receive any compensation for their services in
17     connection with this action from any person other than the parties whom they represent
18     in this action.
19            8.     Petitioner and her counsel have made a careful and diligent inquiry and
20     investigation to ascertain the facts relating to the subject incidents, the responsibility
21     therefore, and the nature and extent of injury to the minor plaintiff, and fully
22     understand that if the compromise herein proposed is approved by the Court and is
23     consummated, said minor plaintiff will be forever barred and prevented from seeking
24     any further recovery of compensation as against all County of Ventura Defendants in
25     this action, even if said minor’s losses and injuries might in the future prove to be more
26     serious than they are now thought to be.
27            9.     Petitioner recommends this compromise settlement to the Court as being
28     fair, reasonable, and in the best interests of said minor plaintiff.



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1            10.    Filed currently with this Petition as Exhibit 1 is the individually designed
2      settlement proposal prepared by Horacio Lleverino, of Settlement Planners, Inc
3      outlining the structured settlement annuity for $119,561.62 through United of Omaha
4      Life Insurance Company which is rated A+ (Superior) Financial Size XV through
5      A.M. Best.
6

7            I declare under penalty of perjury that the foregoing is true and correct.
8

9      Dated: March 17, 2020                    LAW OFFICES OF JOHN L. BURRIS
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11
                                                            __/s/ DeWitt M. Lacy__
12                                                          DeWitt M. Lacy
13                                                          Attorney for Plaintiffs
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1                                      [PROPOSED] ORDER
2
               The Court hereby approves the Minor Plaintiff D.A.D.’s compromise according
3
       to the terms set forth below:
4
               Payment by Defendant County of Ventura in the sum of $119,561.62 to
5
       Mutual of Omaha Structured Settlement Company (“ASSIGNEE”) to provide for
6
       the tax-free structured settlement set forth below (“Periodic Payments”).
7

8
               The sum of $119,561.62 is to be used by Defendant COUNTY OF VENTURA
9
       AND/OR ASSIGNEE to arrange for the purchase of a tax-free structured settlement
10
       annuity policy from United of Omaha Life Insurance Company, through Horacio
11
       Lleverino of Settlement Planners, Inc.
12             Defendant County of Ventura shall execute a Settlement Agreement and
13     Release and execute a “Qualified Assignment” of its obligation to make periodic
14     payments pursuant thereto in compliance with IRC Section 104(a)(2) and Section
15     130(c) of the Internal Revenue Code of 1986, as amended. Said assignment shall be
16     made to Mutual of Omaha Structured Settlement Company (“Assignee”). Upon
17     doing so, Defendant County of Ventura will no longer be obligated to make the
18     future periodic payments and the Assignee will be the Plaintiff’s sole obligor with
19     respect to the future periodic payments, and Defendant County of Ventura will have
20     no further obligations whatsoever to the Plaintiff. The Assignee shall purchase a
21     structured settlement annuity for $119,561.62 through United of Omaha Life
22     Insurance Company which is rated A+ (Superior) Financial Size XV through A.M.
23     Best.
24
               No part of said $119,561.62 may be paid to the Petitioner, this Court having
25
       determined that a tax-free structured settlement is in the best interest of the minor.
26
       Petitioner is authorized to settle this claim on behalf of D.A.D. and receive and
27
       negotiate funds on behalf of the minor. No bond shall be required of Petitioner.
28
       Receipt for purchase of annuity is to be filed with the Court within 60 days.


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1      IT IS SO ORDERED.
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4      Dated: April ____, 2020           ________________________________
                                               HONORABLE DOLLY M. GEE
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